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                    IN THE UNIT     SkTES DISTRICT COURT
                    FOR THE rIItE DISTRICT OF ALABAMA
                                   E.ISION

DOUGLAS K. GALLINGERr.,
                                              A
      Plaintiff,	                         )
                                          )
V
                                          ) Case No.
JPMORGAN CHASE BANK,	                     )
d/b/a CHASE BANK USA,N.A.,	               )
et al. ,	                                 )
                                          )
      Defendants.	                        )

                             NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. § 132, 1441, & 1446, Chase Bank U.S.A., N.A.

("Chase" or "Defendant"), improperly named in the Complaint as JPMorgan Chase

Bank d/b/a Chase Bank USA, N.A?, the sole non-fictitious named party-defendant

in the above-captioned case, hereby removes this action from the Circuit Court of

Coffee County, Alabama, Enterprise Division where it is now pending as Civil

Action Number CV-2017-900189, to the United States District Court for the

Middle District of Alabama, Southern Division In support of this Notice of

Removal, Defendant asserts and avers as follows:

              FACTUAL ALLEGATIONS SUPPORTING, REMOVAL

      1.	      Plaintiff Douglas K. Gallinger ("Plaintiff') commenced this action

against Chase and certain fictitious parties on October 22, 2017, by the filing of a
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Complaint and Summons in the Circuit Court of Coffee County, true and correct

copies of which are collectively attached to this Notice of Removal as Exhibit A.

      2.     Chase was served with the Summons and Complaint via certified mail

on October 25, 2017.

      3.     Plaintiff is a resident citizen of the State of Alabama. (Cornpl. at ¶ 3.)

      4.     As to Chase, Plaintiff alleges that it is "a foreign corporation

organized under the laws of the State of New York which was doing business

through agents at all times material hereto in Coffee County, Alabama." (Id. at ¶

4.)

      5.     In fact, Chase is a national banking association organized pursuant to

the National Bank Act and opçrating under a certificate of authority from the

Comptroller of the Currency. The citizenship of a national bank is determined by

the location of its designated main office. Wachovia Bank, N.A. v. Schmidt, 546

U.S. 303 (2006). Chase Bank U.S.A., N.A., i a national bank. having its

designated main office in Wilmington, Delaware. Therefore, there is complete

diversity between Plaintiff and Defendant.

      6.    Although Plaintiff named certain additional fictitious parties as

defendants -in accordance with Alabama state court practice, see Ala. R. Civ. P.

9(h), the citizenship of these fictitiously named defendants must be disregarded for

purposes of determining removal jurisdiction. 28 U.S.C. § 1441(b)(1).


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      7.	     Plaintiff's Complaint relates to a credit card account Plaintiff

maintained with Chase and upon which he was delinquent in his payments in the

amount of approximately $15,000.00. Plaintiff alleges he was making monthly

payments until he was inaccurately reported as being deceased, at which time his

monthly payments were caused to cease. After the monthly , payments ceased,

Plaintiff's account was allegedly reported as delinquent. Plaintiff alleges this

caused him to lose the security clearance that was necessary to maintain his job as

an overseas defense contractor, and that the loss of his security clearance in turn

caused him to lose his job and to suffer "other damages." (Compi. at IN 10-28.)

      8.      Plaintiff asserts claims for negligence and tortious interference with

contractual relationship, and, with respect to the latter, Plaintiff alleges that

Chase's conduct was intentional and malicious. (Compl. at ¶ 31.)

      9.      In the ad damnurn paragraph following each count of Plaintiff's

Complaint, Plaintiff seeks damages "in such amount as may be awarded by a jury"

and "for, any and all damages as necessary to compensate him for the losses that he

sustained."

      10.     Specific to his claim for damages, Plaintiff alleges that "[a]s a result

of [Chase's] failure to accept monthly payments from the [sic] Gallinger, when the

Defendant reported Gallinger as being delinquent on the debt, Gallinger's security

clearance was revoked and Gallinger lost his employment." (Compl. at ¶ 24).


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Plaintiff further demands "costs, attorney's fees, interest, and any and all Other

damages as allowed by law" in an amount to be determined by the jury.

(Complaint at ad damnum clauses to ¶J 8-28, 29-33.)

        11.    Plaintiff does not quantify the monetary award he is seeking nor does

he limit his claimed damages to an amount below the minimum jurisdictional

amount in controversy. (See generally, Complaint.) Plaintiff makes a jury demand

and requests that a jury award him "all damages as necessary to compensate him

for the losses that he sustained" and "any and all costs, attorney's fees, interest, and

any and all other damages as allowed by law.". (Id. at ad damnum clauses.)

        12.    In a letter to Chase dated January 17, 2011, attached hereto as Exhibit

B, Plaintiff claimed that, as a result of Chase's actions, he had already • lost

$13,180.30 in wages, that he continued to lose wages at the "rate of $6,590.15 for

every two week period," and that he would have accrued $39,540.30 in lost wages

by March 22, 2017, when his employment would be terminated.' Accordingly,

based on this information, Plaintiff is claiming Chase's actions cost him a job that

paid him a little more than $170,000 per year 2 and that he would have potentially




1
  Plaintiff also implies that Chase's actions prevented him from sending one of his children back
to college. See Gallinger Letter to Chase of February 21, 2017, attached hereto as Exhibit C.
2
  $6,590.15 * 26 = $171,343.90.
                                                 4
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suffered $138,392.55 in lost wages by the time he filed the complaint on October

22, 2017?

       13.    Chase does not admit Plaintiff was damaged or that it was responsible

for any damages he did suffer. Nonetheless, Defendant agrees that if a jury

concludes that Defendant is liable to the Plaintiff for all his damages, the damages

award could exceed $75,000.00.

             FEDERAL SUBJECT MATTER JURISDICTION EXISTS

       14.    Pursuant to the federal diversity statute, federal subject matter

jurisdiction exists over this civil action because "the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and, is between.. (3)

citizens of different States." 28 U.S.C. § 1332(a)(1); see also Triggs v. John

Crump Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998). "[T]he party seeking to

remove the case, to federal court bears the burden of establishing federal

jurisdiction." Pretka v. Kolter City Plaza II, Inc., '608 F.3d 744, 752 (11th Cir.

2010) (quoting Evans v. Walter Indus., Inc., 449 F.3 d 1159, 1164 (11th Cir.

2006)).

       15. As demonstrated above, for diversity purposes, Plaintiff is a citizen of

Alabama, where he maintains permanent residence and domicile. Chase is deemed

to be a citizen of Delaware, where its designated main office is located.

  $39,540.30 (damages as of March 22, 2017) plus $98,852.25 (lost wages since March 22,
2017).
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Accordingly, complete diversity exists pursuant to 28 U.S.C. § 1332(a)(1) because

Plaintiff and chase are "citizens of different States."

       16.   With regard to the amount in controversy, "[w]here, as here, the

plaintiff has not pled a specific amount of damages, the removing defendant must

prove by a preponderance of the evidence that the amount in controversy exceeds

the jurisdictional requirement." Pret/w, 608 F.3d at 72 (quoting Williams v. Best

Buy Co., Inc., 269 F.3d 1316, 1319 (11th Cir. 2001)); see also 28 U.S.C. §

1446(c)(2) (removal statute as recently amended codifying "preponderance of the

evidence" with unstated amount in controversy).

       17.   In certain circumstances, removal of a complaint that "does not claim

a specific amount of damages . . . is proper if it is facially apparent from the

complaint that the amount in controversy exceeds the jurisdictional requirement."

Pretka, 608 F.3d at 754 (quoting Williams, 269 F.3d at 1319). Where a complaint

is removed under the first paragraph of 28 U.S.C. § 1446(b) (within thirty days of

initial service), there is "no[] limit [on] the types of evidence that may be used to

satisfy the preponderance of the evidence standard." Pretka, 608 F.3d at 755, 768.

Instead, a removing defendant "may submit a wide range of evidence in order to

satisfy the jurisdictional requirements of removal," including "their own affidavits,

declarations, or ,other documentation." Id. A removing defendant may also

include "factual allegations establishing jurisdiction" in the notice of removal if it
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"can support them (if challenged by the y plaintiff or the court) with evidence

combined with reasonable deductions, reasonable inferences, Or other reasonable

extrapolations." Id. at 754.

      18.    In this action, Plaintiff is clearly going to be seeking compensatory

damages (in the form of lost wages) in excess of the $75,000 amount In

controversy requirement. According to the Complaint, Chase's action caused him

to lose his security clearance and ultimately his job. That job, based on his own

statements., paid him more than $170,000 annually and that he had suffered almost

$40,000 in damages six months before the Complaint was filed.

      19.    Further, in determining the amount in controversy, each category of

damages claimed in a complaint, including "punitive damages[,] must be

considered . . unless it is apparent to a legal certainty that such cannot be

recovered." Holley Equip. Co. v. Credit Alliance Corp., 821 F.2d 1531, 1535 (11th

Cir. 1987); see also Renfroe v. Allstate Property and Cas. ins. Co., 10-00359-CG-

B, 2010 WL 4117038, at *4 S.D. Ala. Sept. 23, 2010) (Bivens, M.J.) ("The law is

clear that the amount in controversy includes not only compensatory damages, but

punitive damages as well.").

      20 Plaintiff also claims "costs, attorney's fees, interest, and any and all

Other damages as allowed by law." (Compl. at ¶J 28, ad damnum to ¶J 29-3.)

These items also suggest Plaintiffs Complaint satisfies the amount-in-controversy


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requirement. See Kennedy Co. v. Just in Time Chem. Sales & Mktg., Inc., No. CV-

13-S-628-NE, 2013 WL 3879905, at *3 (N.D. Ala. July 26, 2013) (remand denied

where, inter alia,, attorneys' fees claim in negligence action were included in

amount-in-controversy calculation).

       21. Plaintiff's asserts in Count II that Chase interfered, with his contractual

relationship with his employer both "intentionally and with malice." Thus, despite

Plaintiff's failure to expressly characterize the damages sought as of the punitive

variety, his allegation of intentional, malicious conduct on the part of Chase

necessarily implies, from Chase's view, a very thinly-veiled request for punitive

damages and Alabama law allows for the recovery of punitive damages for this

claim. Gross v. Lowder Realty Better Homes & Gardens, 494 So. 2d 590, 597 n. 4

(Ala. 1986). Thus, Plaintiff is seeking an award of over $150,000 in compensatory

damages plus punitive damages. Moreover, to the extent Plaintiff recovered on his

claim for intentional interference with his contract (which Chase denies), he could

potentially recover damages for emotional distress, consequential damages, and

harm to his reputation. See Roberson v. CP. Allen Constr. Co., 50 So. 3d 471, 477

(Ala. Civ. App.20 10) ("The damages recoverable for intentional interference with

'a contractual relationship include: '(1) the pecuniary loss of the benefits of the

relation; (2) consequential losses for which the interference is a legal cause; ... (3)

emotional distress or actual harm to reputation if either is reasonably to be


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expected to result from the interference. . . and (4) punitive damages.') (quoting

White Sands Group, L.L.C. v. PRS II, LLC, 32 So. 3d 5, 17 (Ala. 2009); other

internal citations omitted). Thus, Plaintiff is, if not facially apparent from the

Complaint, certainly seeking in excess of $75,000.00 in damages in this action.

      22.    Finally, because Defendant files this notice of removal within thirty

days of its receiving a copy of the initial pleading, Defendant's notice of removal is

timely pursuant to 28 U.S.C. § 1446(b). Accordingly, this case is removable

pursuant to 28 U.S.C. § 1441(a)-(b), as original jurisdiction exists and none of the

"parties in interest properly joined and served as defendants is a citizen of the State

in which such action is brought." Id. at § 1441(b)(2).

       ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

      23.    In accordance with 28 U.S.C. § 1446(a), Defendant has attached as

Exhibit D true and correct copies of all process, orders, and other papers served on

Defendant as of the date of this removal.

      24.    Attached hereto as Exhibit E is a copy of the Notice of Filing this

Notice of Removal that is being filed with ' the clerk of the Circuit Court of Coffee

Count, Alabama.

      25.    Attached hereto as Exhibit F is Defendant's Corporate Disclosure

Statement.
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      WFIEREFORE, Defendant files this Notice of Removal in order to remove

this action from the Circuit Court of Coffee County, Alabama, where it is now

pending as case number CV-2017-900189.00, to this Court for all further

proceedings.




                                      W.PATTON(IAHN
                                      BRODIE T. JAMES	                          -
                                      Attorneys for Defendant Chase Bank
                                      U.S.A., N.A.

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                [CERTIFICATE OF SERVICE TO FOLLOW]




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                        CERTIFICATE OF SERVICE

      I hereby certify that on this the 22nd day of November, 2017, the foregoing
has been served via the United States Postal Service:

      Tracy W. Cary
      MORRIS, CARY, ANDREWS,
      TALMADGE & DRIGGERS, LLC
      3334 Ross Clark Circle
      Dothan, Alabama 36303



                                             iCOUNSEL




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